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 2
 3
 4
         Entered on Docket
 5 ___________________________________________________________________
       February 28, 2013

 6
 7   Jonas V. Anderson, Attorney
     State Bar # VA 78240
 8   jonas.v.anderson@usdoj.gov
 9   UNITED STATES DEPARTMENT OF JUSTICE
     Office of the United States Trustee
10   300 Las Vegas Boulevard, So., Suite 4300
     Las Vegas, Nevada 89101
11   Tel.: (702) 388-6600, Ext. 227
12   Fax: (702) 388-6658

13   Attorney for the Acting United States Trustee
            AUGUST B. LANDIS
14
                              UNITED STATES BANKRUPTCY COURT
15
                                        DISTRICT OF NEVADA
16
     In re:
17                                                      Case No: BK-S-09-28379-MKN
18   CARL A. BASSETT                                    Chapter 11
19                                                      Date: February 20, 2013
                                       Debtor.          Time: 9:30 a.m.
20
                                                        Place: Foley Courtroom 2 (Third Floor)
21
22                                    ORDER DISMISSING CASE
23
              Based on the Motion of the Acting United States Trustee, Pursuant to 11 U.S.C. §
24
     1112(b) and Federal Rules of Bankruptcy Procedure 1017(f) and 9014, to Convert Chapter 11
25
26   Case to Chapter 7, or in the Alternative to Dismiss the Case, the hearing held on February 20,

27   2013 (appearances noted on the record), the Court having stated on the record its findings of fact
28   and conclusions of law, which are incorporated herein pursuant to Federal Rules of Bankruptcy
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 1   Procedure 9014(c) and 7052, and Federal Rule of Civil Procedure 52, with good cause having
 2   been shown,
 3
            IT IS HEREBY ORDERED that this case is DISMISSED.
 4
 5   Submitted by:

 6
     AUGUST B. LANDIS
 7
     ACTING UNITED STATES TRUSTEE
 8   REGION 17
 9
     By: /s/ Jonas V. Anderson
10     Jonas V. Anderson, Esq.
       United States Department of Justice
11     Attorney for the Acting United States Trustee
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     1                                      RULE 9021 DECLARATION

     2
                In accordance with LR 9021, counsel submitting this document certifies that the order
     3
     4
         accurately reflects the Court's ruling and that:

     5           D The court has waived the requirement of approval under LR 9021 (b)(1 ).
     6
                 D No party appeared at the hearing or filed an objection to the motion.
     7
                ~ I have delivered a copy of this proposed order to all counsel who appeared at the
     8          hearing, and any unrepresented parties who appeared at the hearing, and each has
     9          approved or disapproved the order, or failed to respond, as indicated below:

    10
          APPROVE/DISAPPROVE
    11

    12

    13    THOMAS E. CROWE, ESQ.
          2830 S. JONES BLVD. # 3
    14    LAS VEGAS, NV 89146
    15
          Attorney for Debtor
    16
                 D I certify that this is a case under Chapter 7 or 13, that I served a copy of this order with
    17          the motion pursuant to LR 9014(g), and that no party has objected to the form or content
    18          of the order.
                I declare under penalty of peijury that the foregoing is true and correct.
    19

    20
                                                AUGUST B. LANDIS
    21                                          ACTING UNITED STATES TRUSTEE
    22                                          REGION17

    23                                          By: Is/ Jonas V. Anderson
                                                Jonas V. Anderson, Esq.
    24                                          United States Department of Justice
    25                                          Attorney for the Acting United States Trustee

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